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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

Murray Cobb
                                  Plaintiff,
v.                                                     Case No.: 1:24−cv−03707
                                                       Honorable Edmond E. Chang
Lake County Jail, et al.
                                  Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 18, 2024:


        MINUTE entry before the Honorable Edmond E. Chang: The Court recruits
attorney John William Rotunno, KL Gates LLP, 70 West Madison, Suite 3300 Chicago,
IL 60602, (312) 372−1121, e−mail john.rotunno@klgates.com, to represent the Plaintiff in
accordance with counsel's trial bar obligations under N.D. Ill. Local Rules 83.11(h) and
83.37. Counsel shall promptly file an appearance. By 12/02/2024, counsel shall file an
amended complaint. If counsel believes that filing an amended complaint would be
inconsistent with counsel's Rule 11 obligations, then counsel shall file a motion for
appropriate relief. The Court notifies recruited counsel that pro bono litigation resources
are available on the District's website at http://www.ilnd.uscourts.gov, by clicking on the
link to Resources for Pro Bono Attorneys in the Trial Bar. Another resource is an attorney
with the Uptown People's Law Center, Mr. Alan Mills, who may be reached at
alan@uplcchicago.org. In addition, counsel should review Local Rule 54.1 for the rules
addressing the taxation of costs and the limits established by the Judicial Conference of
the United States and/or published rates on the Court's website. The Clerk is directed to
send a copy of this order to Plaintiff, recruited counsel, and to the PACER Service Center
and Systems Department for no−charge use of PACER for this case. (2.) What follows
(again) is simply a warning that the Court issues in every attorney−recruitment case; it is
not personal to Plaintiff. Plaintiff is alerted that, like any other client who has retained an
attorney, he must respect the time and effort of his counsel and must carefully consider all
of the advice provided by counsel. Counsel is under no obligation to pursue claims that do
not have a reasonable basis in law or in fact. If a recruited attorney withdraws due to the
unreasonable conduct or positions of a client, then it is very unlikely that another lawyer
will be recruited. Hopefully this will not come to pass, and instead the attorney−client
relationship will be a productive one. (3.) The tracking status set for 11/08/2024 is reset to
12/13/2024 at 8:30 a.m., but to track the case only (no appearance is required, the case
will not be called). Mailed Notice. (jn,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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